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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                          Case No. 19-cv-22340-UU

 OPEN ACCESS FOR ALL, INC., et al.,

         Plaintiffs,

 v.

 MIAMI INCOMING SERVICES, LLC,

         Defendant.
                                                       /

                                                     ORDER

         THIS CAUSE came before the Court upon Plaintiffs’ Notice of Voluntary Dismissal and

 Motion for Order of Dismissal Without Prejudice. D.E. 25 & 26.

         THE COURT has reviewed the Notices, the pertinent portions of the record, and is

 otherwise fully advised in the premises. On August 7, 2019, Plaintiffs filed the Notice of

 Voluntary Dismissal informing the Court that they dismissed this action without prejudice against

 Defendant Miami Incoming Services, Inc.1 D.E. 26. Accordingly, it is hereby

         ORDERED AND ADJUDGED that the Motion (D.E. 26) is GRANTED.                                   Pursuant to

 Federal Rule of Civil Procedure 41(a)(1)(A)(i), all claims in this action are DISMISSED

 WITHOUT PREJUDICE. It is further

         ORDERED AND ADJUDGED that the Clerk of Court SHALL administratively close this

 case. All future hearings are CANCELLED and all pending motions are DENIED AS MOOT.




 1
  Earlier on August 7, 2019, Plaintiffs filed the Notice of Voluntary Dismissal and Motion for Order of Dismissal
 Without Prejudice (D.E. 25), with the incorrect party’s name. Plaintiffs subsequently filed the corrected Notice of
 Voluntary Dismissal and Motion for Order of Dismissal Without Prejudice (D.E. 26).
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        DONE AND ORDERED in Chambers at Miami, Florida, this _7th_ day of August, 2019.



                                                    _______________________________
                                                    UNITED STATES DISTRICT JUDGE

 cc: all counsel of record via cm/ecf




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